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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

SECURITIES AND EXCHANGE COMMISSION,

Plaintiff,

Vv. Case No. 8:19-cv-448-VMC-CPT

SPARTAN SECURITIES GROUP, LTD,
ISLAND CAPITAL MANAGEMENT,
CARL DILLEY, MICAH ELDRED, and
DAVID LOPEZ,

Defendants.

Verdict Form

1. Violations of Section 15(c)(2) and Rule 15c2-11 of the Exchange Act
Did Spartan Securities violate Section 15(c)(2) and Rule 15c2-11 of the Securities Exchange Act

of 1934?
YES NO

~*

If answered YES, move on to #2. If answered NO, move on to #3

 

 

 

 

 

2. Aiding and Abetting Violations of Section 15(c)(2) and Rule 15c2-11 of the Exchange Act

Did the Defendants below aid and abet Spartan Securities’ violation of Section 15(c)(2) and Rule
15c2-11 of the Securities Exchange Act of 1934?
YES NO

 

Carl E. Dilley

 

Micah J. Eldred

 

 

 

 

 

David D. Lopez

 

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3. Violations of Section 17(a)(1) of the Securities Act

Did the Defendants below violate Section 17(a)(1) of the Securities Act of 1933?

 

 

YES NO
Spartan Securities na
Island Stock Transfer xX

 

Carl E. Dilley

x
Micah J. Eldred x

 

 

 

 

 

 

4. Violations of Section 17(a)(3) of the Securities Act

Did the Defendants below violate Section 17(a)(3) of the Securities Act of 1933?

 

 

YES NO
Spartan Securities S<
Island Stock Transfer SK

 

Carl E. Dilley x
Micah J. Eldred x

 

 

 

 

 

 

5. Violations of Section 10(b) and Rule 10b-5(a) of the Exchange Act

Did the Defendants below violate Section 10(b) of the Securities Exchange Act of 1934 and Rule

10b-5(a) promulgated thereunder?
YES

 

Spartan Securities

 

Island Stock Transfer

 

Carl E. Dilley

 

Micah J. Eldred

 

IX P< DX fz

 

 

 

 

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6. Violations of Section 10(b) and Rule 10b-5(b) of the Exchange Act

Did the Defendants below violate Section 10(b) of the Securities Exchange Act of 1934 and Rule
10b-5(b) promulgated thereunder?

 

 

YES NO
Spartan Securities ‘
Island Stock Transfer K

 

Carl E. Dilley x
Micah J. Eldred x

7. Violations of Section 10(b) and Rule 10b-5(c) of the Exchange Act

Did the Defendants below violate Section 10(b) of the Securities Exchange Act of 1934 and Rule
10b-5(c) promulgated thereunder?

 

 

 

 

 

 

 

 

YES NO
Spartan Securities S
Island Stock Transfer x

 

Carl E. Dilley x

Micah J. Eldred x

 

 

 

 

 

 

8. Aiding and Abetting Violations of Section 17(a){1) of the Securities Act

Did the Defendants below aid and abet one or more violations by Alvin Mirman (“Mirman”),
Sheldon Rose (“Rose”), Michael Daniels (“Daniels”), Andy Fan (“Fan”), or Diane Harrison
(“Harrison”) of Section 17(a)(1) of the Securities Act of 1933?

YES

 

Spartan Securities

 

Island Stock Transfer

 

Carl E. Dilley

 

Micah J. Eldred

«IX XK IX z

 

 

 

 

 

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9. Aiding and Abetting Violations of Section 17(a)(2) of the Securities Act

Did the Defendants below aid and abet one or more violations by Mirman, Rose, Daniels, Fan or
Harrison of Section 17(a)(2) of the Securities Act of 1933?

 

 

 

 

YES NO
Spartan Securities x
Island Stock Transfer x
Carl E. Dilley x
Micah J. Eldred x

 

 

 

 

 

10. Aiding and Abetting Violations of Section 17(a)(3) of the Securities Act

Did the Defendants below aid and abet one or more violations by Mirman, Rose, Daniels, Fan or
Harrison of Section 17(a)(3) of the Securities Act of 1933?

YES NO

 

Spartan Securities

 

Island Stock Transfer

X

| Xx

Carl E. Dilley x
X

 

 

Micah J. Eldred

 

 

 

 

 

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11. Aiding and Abetting Violations of Section 10(b) and Rule 10b-5(a) of the Exchange Act

Did the Defendants below aid and abet one or more violations by Mirman, Rose, Daniels, Fan or
Harrison of Section 10(b) of the Securities Exchange Act of 1934 and Rule 10b-5(a) promulgated
thereunder?

YES NO

 

Spartan Securities

 

Island Stock Transfer

 

Carl E. Dilley

 

Micah J. Eldred

 

 

 

 

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12. Aiding and Abetting Violations of Section 10(b) and Rule 10b-5(b) of the Exchange Act

 

Did the Defendants below aid and abet one or more violations by Mirman, Rose, Daniels, Fan or

Harrison of Section 10(b) of the Securities Exchange Act of 1934 and Rule 10b-5(b) promulgated
thereunder?

 

 

 

 

 

 

 

 

 

YES NO
Spartan Securities %
Island Stock Transfer xX
Carl E. Dilley
*
Micah J. Eldred
mS

13. Aiding and Abetting Violations of Section 10(b) and Rule 10b-5(c) of the Exchange Act

 

Did the Defendants below aid and abet one or more violations by Mirman, Rose, Daniels, Fan or
Harrison of Section 10(b) of the Securities Exchange Act of 1934 and Rule 10b-5(c) promulgated
thereunder?

YES

 

Spartan Securities

 

Island Stock Transfer

 

Carl E. Dilley

 

Micah J. Eldred

 

> XKPS DX z

 

 

 

 

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14. Violations of Sections 5(a) and 5(c) of the Securities Act

Did the Defendants below violate Sections 5(a) and S(c) of the Securities Act of 1933?

 

 

 

YES NO
Spartan Securities x
Island Stock Transfer x
Carl E. Dilley x

 

 

 

 

 

if your answer above is YES, did the Defendants prove by a preponderance of the evidence that
the transfer was exempt from registration?

YES NO

 

Spartan Securities

 

Island Stock Transfer

 

Carl E. Dilley

 

 

 

 

 

SO SAY WE ALL.

Rated Date: "1 Sef </

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